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                                    THE UNITED STATES DISTRICT COURT
                                            DISTRICT OF UTAH

   LAURA A. GADDY, LYLE D. SMALL, and                     OPPOSITION TO MOTION FOR
   LEANNE R. HARRIS, individually and on                 LEAVE TO FILE THIRD AMENDED
   behalf of all others similarly situated,                      COMPLAINT

                              Plaintiffs,              Case No. 2:19-cv-00554-RJS
            v.
                                                       The Honorable Robert J. Shelby
   CORPORATION OF THE PRESIDENT OF
   THE CHURCH OF JESUS CHRIST OF
   LATTER-DAY SAINTS, a Utah corporation
   sole,

                              Defendant.


           Corporation of the President of The Church of Jesus Christ of Latter-day Saints (the

  “Church”) hereby submits this Opposition to Motion for Leave to File Third Amended

  Complaint (the “Motion,” Docket 122).

                                            INTRODUCTION

           Enough is enough. Plaintiffs again seek leave to amend their complaint—while a motion

  to dismiss the currently operative complaint is pending. The Court has been more than patient

  with plaintiffs’ numerous prior amendments. Over the last two and a half years, Plaintiffs have

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  submitted no less than ten prior versions of this complaint. The Court warned Plaintiffs that it

  would not entertain further amendments to claims that have previously been dismissed. And the

  Court’s order granting leave for Plaintiffs to file the Second Amended Complaint instructed

  Plaintiffs to “make any other necessary edits so that the Second Amended Complaint contains all

  operative allegations in this case.” (Docket 109). These alone are sufficient grounds to deny the

  proposed amendment.

           The Motion should also be denied as futile. Plaintiffs yet again ignore this Court’s prior

  orders and attempt to bring multiple claims regarding the veracity of the Church’s religious

  teachings. Indeed, the Proposed Third Amended Complaint includes even more allegations

  about the translation process of the Book of Mormon, the history of the Book of Abraham, and

  Joseph Smith’s First Vision. These claims have already been dismissed—twice—and, as argued

  in the Church’s pending Motion to Dismiss Second Amended Complaint, should be dismissed a

  third time. The Court’s orders have been clear. The First Amendment prohibits this Court from

  adjudicating “fraud claims implicating religious facts.” (Docket 33 at 13). The Third Amended

  Complaint would simply result in another motion to dismiss. There is no reason for this Court—

  or the parties—to expend further resources briefing and adjudicating the same issues that have

  already been decided. Accordingly, the Motion should be denied.

                        SUMMARY OF RELEVANT PROCEDURAL HISTORY

  A.       Plaintiffs Have Submitted at Least Ten Versions of the Complaint.

           In total, the “Proposed Third Amended Complaint” is actually the eleventh substantively




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  different complaint submitted by Ms. Gaddy. Specifically, Ms. Gaddy1 has filed the following:


           1.        The original complaint filed on August 5, 2019. (Docket 2).

           2.        The “Proposed First Amended Complaint” submitted with a Motion for Leave to

                     File First Amended Complaint on March 30, 2020.” (Docket 32). This motion

                     was filed while the Church’s motion to dismiss the original complaint was

                     pending.

           3.        The “The First Amended Complaint” filed on May 18, 2020, after the Court

                     granted the Church’s motion to dismiss. (Docket 37).

           4.        A “Supplemental First Amended Complaint” that was the result of a “Motion to

                     Supplement” filed on November 10, 2020. (Docket 57).

           5.        A “Proposed Second Amended Complaint” filed on March 17, 2020. (Docket

                     85).

           6.        A de facto amendment through Ms. Gaddy’s “Errata to [Proposed] Second

                     Amended Complaint” filed on March 31, 2020. (Docket 90).

           7.        A new proposed amendment to the proposed Second Amended Complaint

                     submitted with “Plaintiff’s Motion to Amend/Correct Plaintiff’s Motion for Leave

                     to File Second Amended Complaint” filed on May 28, 2020. (Docket 95). This

                     motion was granted by the Court on June 14, 2020. (Docket 98).

           8.        A new “Proposed Second Amended Class Action Complaint” filed on September




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             The Second Amended Complaint added two other named plaintiffs. But those additions did not change
  the substance of the claims at issue in this case.


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                     27, 2021 with Ms. Gaddy’s new Motion for Leave to File Second Amended

                     Complaint. (Docket 105).

           9.        Proposed amendments to the “Proposed Second Amended Class Action

                     Complaint” filed with Ms. Gaddy’s “Motion to Amend [Proposed] Second

                     Amended Complaint” on October 5, 2021. (Docket 106).

           10.       The currently-operative Second Amended Complaint filed on October 22, 2021.

                     (Docket 110).

           11.       The Proposed Third Amended Complaint filed with Plaintiffs’ Motion for Leave

                     to File Third Amended Complaint on January 28, 2022. (Docket 122).

                                                ARGUMENT

           Rule 15 of the Federal Rules of Civil Procedure provides that, absent two exceptions

  inapplicable here, “a party may amend its pleading only with the opposing party’s written

  consent or the court’s leave. The court should freely give leave when justice so requires.” Fed.

  R. Civ. P. 15(a)(2). Decisions on whether to permit amendment are left to the discretion of the

  district court. And a district court’s decision will be upheld unless it “issues an arbitrary,

  capricious, whimsical, or manifestly unreasonable judgment.” Llacua v. Western Range Ass’n,

  930 F.3d 1161, 1189 (10th Cir. 2019) (quoting Birch v. Polaris Indus. Inc., 812 F.3d 1238, 1247

  (10th Cir. 2015)). A “district court may refuse to allow amendment if it would be futile.” Full

  Hospice LLC v. Sebelius, 709 F.3d 1012, 1018 (10th Cir. 2013). “A proposed amendment is

  futile if the complaint, as amended, would be subject to dismissal.” Id.

  A.       The Court Should Exercise Its Discretion and Deny the Motion.

           This Court should deny the Motion and decline to allow yet another amendment. The


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  Tenth Circuit has recognized that where a plaintiff was given multiple opportunities to amend its

  pleadings and the new allegations are not based on new information, it is proper for a district

  court to deny leave to amend. Llacua, 930 F.3d at 1189. This is particularly appropriate when

  the district court has issued warnings that additional amendments may not be permitted. Id. at

  1188 (noting that the district court required counsel to “put [their] cards on the table” with a final

  amendment rather than saying “we want to amend one more time”). This policy is in recognition

  of the “significant expenditure of resources on the part of the defendants and the judiciary in

  responding to . . . prior iterations of the . . . complaint.” Id. at 1189 (emphasis in original).

           Plaintiffs have enjoyed considerable latitude from the Court and the Church in amending

  their pleadings in the past (many of the prior versions of the complaint were filed with the

  stipulation of the Church). But the Court warned Plaintiffs that further amendments may not be

  permitted. First, during the hearing on the Church’s Motion to Dismiss the First Amended

  Complaint, the Court stated “it seems to me that we are probably at a point where I would not

  allow further amendment of” the claims that have previously been dismissed. (Docket 78 at 17).

  This warning came before Plaintiffs filed the Second Amended Complaint again reasserting

  claims based “on the same theories or related theories.” Id. Second, in granting the Motion for

  Leave to File Second Amended Complaint this Court expressly directed Ms. “Gaddy to make all

  changes referenced in her Motion to Amend and any other edits so that the Second Amended

  Complaint contains all operative allegations in this case.” (Docket 109) (emphasis added).

           Plaintiffs continue to ignore this Court’s prior rulings by attempting to reassert the same

  claims based on theories that have been rejected by this Court. Tellingly, the Proposed Third

  Amended Complaint still contains hundreds of pages of allegations about the Church’s religious


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  teachings regarding the Book of Mormon, the First Vision, and the Book of Abraham. Yet this

  Court held that it “can no more determine whether Joseph Smith saw God and Jesus Christ or

  translated with God’s help gold plates or ancient Egyptian documents, than it can opine on

  whether Jesus Christ walked on water or Muhammed communed with the archangel Gabriel.

  The First Amendment prohibits these kinds of inquiries in courts of law.” (Docket 33 at 12).

  And the Court subsequently held that “the First Amendment bars” the inquiry into “the Church’s

  teachings concerning,” among other things, “the First Vision, translations of the Book of

  Mormon and Book of Abraham, locations of events described in the Book of Mormon, and the

  Church’s history with polygamy.” (Docket 100 at 23). Plaintiffs have not even attempted to

  comport the Proposed Third Amended Complaint with the Court’s prior orders. This alone is

  grounds for denial of the Motion.

           Plaintiffs provide no explanation for why the new factual allegations included in the

  Proposed Third Amended Complaint could not have been included when the Court directed them

  to make “any other edits so that the Second Amended Complaint contains all operative

  allegations in this case.” (Docket 109). Indeed, none of the allegations is based on new

  information. For example, Plaintiff’s Motion references a new “affirmative misrepresentation

  based on the post 2012 tithing form.” (Motion at 5). Similarly, the Motion references that the

  Proposed Third Amended Complaint “was slightly revised to include another five years” (i.e

  from 2010 to 2016. And it includes additional exhibits from 2019. In other words, there is no

  information that could not have been raised in the Second Amended Complaint.

           Finally, the Church notes the clear pattern that has emerged. Plaintiffs file a complaint,

  the Church moves to dismiss, and the Plaintiffs attempt to amend the complaint while that


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  motion is pending. This has occurred repeatedly and, if this amendment were allowed, it would

  no doubt continue. The Church’s response to the Proposed Third Amended Complaint will, of

  course, be a motion to dismiss raising the same arguments it has previously raised. This invites

  yet another round of briefing (with the sure-to-follow requests to amend, notices of errata, and

  supplements) that will only increase the already significant expenditure of party and judicial

  resources on this case. See Llacua, 930 F.3d at 1189 (discussing judicial resources expended in

  responding to multiple complaints). The timing of the Motion makes clear that Plaintiffs are

  attempting to circumvent the Court’s ruling on the Motion to Dismiss the Second Amended

  Complaint. And as the district court in Llacua recognized, “‘[i]t is precisely this type of

  manipulation that has led the Tenth Circuit to caution courts against allowing plaintiffs ‘to make

  the complaint a moving target, to salvage a lost case by untimely suggestion of new theories of

  recovery, [or] to present theories in seriatim in an effort to avoid dismissal.’” Id. at 1189 n.36.

  Plaintiffs Motion should be denied.

  B.       The Court Should Deny the Proposed Amendment as Futile.

           The Proposed Third Amended Complaint should be rejected as futile. The Motion

  identifies four categories of new information. Those categories are as follows: “new allegations

  to support the prior claim that [Church leaders] do not believe what they teach” (Motion at 6),

  allegations comparing “the percent of annual tithing receipts used to fund EPA” with “the

  percent of tithing used for humanitarian aid” (Motion at 8), new allegations about a

  misrepresentation on “the post 2012 tithing form that all donations are spent to further the

  ‘overall mission of the Church’” (Motion at 5), and “the basis of the allegations made upon




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  information and belief” (Motion at 3).2 But none of those would actually cure the defects in the

  Second Amended Complaint.3

           First and foremost, the First Amendment still precludes this Court from adjudicating any

  fraud claim that is rooted in religious teachings. This Court held that “the First Amendment

  bars” the inquiry into “the Church’s teachings concerning,” among other things, “the First

  Vision, translations of the Book of Mormon and Book of Abraham, locations of events described

  in the Book of Mormon, and the Church’s history with polygamy.” Second Order at 23. Yet the

  Proposed Third Amended Complaint still includes all the same allegations about those topics as

  before. In fact, the Proposed Third Amended Complaint includes even more allegations on those

  topics. Specifically, the following paragraphs contain additional allegations about the Book of

  Mormon: ¶¶ 157, 167, 203, 227, 231-32, 236. The following paragraphs contain additional

  allegations about the First Vision: ¶¶ 213, 236. And the following paragraphs contain additional

  allegations about the Book of Abraham: ¶¶ 37-38; 74-75, 236.

           Second, the additional allegations about the “sincerity of belief” are immaterial. This

  theory of liability was already squarely rejected by the Court in its Second Order. Indeed, the

  Court devoted an entire section of its Second Order to that argument. (Docket 100 at 15).

  Ultimately, the Court held that Ms. Gaddy’s theory was prohibited by the First Amendment. Id.

  In other words, the claims were not dismissed for failure to sufficiently plead lack of sincere




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             Plaintiffs also note they have “reworded” the Fourth Cause of Action. But that rewording does not alter
  the analysis in the slightest.

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            For the sake of brevity, the Church will only summarize, as necessary, the arguments it advances in its
  Motion to Dismiss Second Amended Complaint.


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  belief. Thus, additional allegations about the lack of sincere belief are irrelevant and do not

  change the analysis.

           Third, the additional allegations about tithing also fail to cure the defects identified in the

  Second Amended Complaint. The Motion identifies two categories of additional allegations

  regarding tithing. First, an alleged misrepresentation by the Church that tithing is used to

  “further the overall mission of the Church.” Second, allegations regarding comparisons of funds

  controlled by EPA and donations to humanitarian aid. But neither of these categories actually

  cure the defect with Plaintiffs’ tithing claims. As set forth in the Motion to Dismiss Second

  Amended Complaint, Plaintiffs allege that the Church does not use all its tithing donations for

  the “Lord’s purposes” or to “further the overall mission of the Church.” But these claims are

  also barred by the First Amendment. This Court cannot decide what are and are not the “Lord’s

  purposes.”

           These claims also fail on the merits. Indeed, Utah Supreme Court rejected this exact type

  of claim more than 60 years ago. It explained:

                      “[I]t is obvious that all of the funds the Church collects would not be
                     disbursed immediately and directly for such purposes. It is but common
                     sense and common knowledge that there is need for the exercise of
                     management of such funds for the ultimate accomplishment of the
                     purposes stated. How this is to be done to best serve those objectives is
                     for those in charge of the management of the Church to decide. It may
                     well entail the keeping of collected funds in savings accounts, bonds, real
                     estate or any type of investment which, in the judgment of those in charge,
                     best suits that purpose.”

  Stone v. Salt Lake City, 356 P.2d 631, 633-34 (Utah 1960). Plaintiffs have not plead that the

  investment of donated funds—for future use by the Church—constitutes any kind of fraud. The

  Church has every legal right under the First Amendment and the laws applicable to any non-


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  profit organization to invest a portion of its funds for future use by the organization. This is both

  “common sense and common knowledge.” Id.

           Fourth, the additional information provided to indicate the source of the allegations made

  upon information and belief does not change the analysis for the Motion to Dismiss Second

  Amended Complaint. The Church’s argument was made in a footnote and noted that these

  allegations made upon information and belief did not “reference a ‘purely secular’ statement by

  the Church asserting that tithing funds would not be used to support Beneficial Life or that any

  such statement was false.” Simply providing the basis for the (false) allegation that tithing funds

  were used to support Beneficial Life does not actually cure the defect. Plaintiffs still cannot

  reference any statement by the Church indicating that it would not invest money in Beneficial

  Life for future use by the Church. Thus, this new category of allegations does nothing to save

  the Proposed Third Amended Complaint.


                                            CONCLUSION

           The time has come for this case to end. The Church respectfully requests that the Court

  deny any additional attempts by Plaintiffs to further amend their complaint. They have been

  given more than enough opportunities to do so. They clearly disagree with the Court’s prior

  rulings. But the proper course of action is an appeal to the Tenth Circuit—not a never-ending

  cycle of amended pleadings. The Motion should be denied.




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            DATED: February 25, 2022

                                            FOLEY & LARDNER LLP



                                            /s/ David J. Jordan
                                            David J. Jordan
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                                            Attorneys for Defendant Corporation of the
                                              President of The Church of Jesus Christ of
                                              Latter-day Saints




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                              CERTIFICATE OF SERVICE

           I hereby certify that on this the 25th day of February 2022, I caused a true

  and correct copy of the foregoing document to be filed through the Court’s

  CM/ECF system which served a copy of the document on all counsel of records.



                                            /s/ David J. Jordan




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